                       Case 4:19-cv-06669-JST Document 106 Filed 06/21/21 Page 1 of 2


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            4                                     UNITED STATES DISTRICT COURT
            5                                 NORTHERN DISTRICT OF CALIFORNIA
            6                                           OAKLAND DIVISION
            7    ROBERT ROSS,                                          CASE NO. 4:19-CV-06669 (JST)
            8                          Plaintiff,                      [PROPOSED] ORDER CONTINUING CASE
                                                                       MANAGEMENT CONFERENCE AND
            9           v.                                             EXTENDING DEADLINE TO FILE JOINT
                                                                       LIST RE SETTLEMENT CONFERENCE
           10    AT&T MOBILITY LLC, ONE TOUCH                          MAGISTRATE JUDGES
                 DIRECT, LLC, and, ONE TOUCH DIRECT-
           11    SAN ANTONIO, LLC,                                     Original Case Management Conference:
                                                                                    June 22, 2021
           12                          Defendant.
                                                                       New Case Management Conference:
           13                                                                    June 29, 2021
           14                                                          Deadline to file Joint List re Settlement
                                                                                     Conference: June 21, 2021
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                                                                       New Deadline to file Joint List re Settlement
           16                                                                     Conference: June 28, 2021
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                    [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE AND
           19       EXTENDING DEADLINE TO FILE JOINT LIST RE SETTLEMENT CONFERENCE
                                         MAGISTRATE JUDGES
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                        Upon consideration of the stipulation filed by the parties, it is ORDERED that the Parties
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                 Further Case Management Conference shall be extended by 7 days until June 29, 2021, and the deadline
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                 for the Parties to file a Joint List regarding Settlement Conference Magistrate Judges shall be extended
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                 by 7 days until June 28, 2021.
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                        IT IS SO ORDERED.
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Gibson, Dunn &   [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE AND EXTENDING DEADLINE TO
Crutcher LLP
                              FILE JOINT LIST RE SETTLEMENT CONFERENCE MAGISTRATE JUDGES
                                                  CASE NO. 4:19-CV-06669 (JST)
                      Case 4:19-cv-06669-JST Document 106 Filed 06/21/21 Page 2 of 2


            1    Dated: June __, 2021
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                                                    Honorable Jon S. Tigar
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                                                    United States District Judge
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Gibson, Dunn &   [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE AND EXTENDING DEADLINE TO
Crutcher LLP
                              FILE JOINT LIST RE SETTLEMENT CONFERENCE MAGISTRATE JUDGES
                                                  CASE NO. 4:19-CV-06669 (JST)
